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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
                                             )
       vs.                                   )                   8:08CR105
                                             )
STEVEN A. JONES and                          )                     ORDER
JASON M. CODR,                               )
                                             )
                     Defendants.             )


        This matter is before the court on the motion [190] of Steven A. Jones to continue
trial. For good cause shown, the court will grant a continuance to November 18, 2008.

       IT IS ORDERED that the motion to continue trial [190] is granted, as follows:

       1. The trial of this matter is continued to Tuesday, November 18, 2008 at 9:00
a.m. in Courtroom No. 2, Third Floor, Roman L. Hruska United States Courthouse, 111
South 18th Plaza, Omaha, Nebraska. Judge Smith Camp will meet with counsel in
chambers at 8:30 a.m. on the first day of trial.

        2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting a continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between October 1, 2008 and November 18, 2008, shall
be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act due to defense counsel's scheduling conflict and because counsel require
additional time to adequately prepare the case, taking into consideration due diligence of
counsel and the novelty and complexity of this case. The failure to grant additional time
might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B)(iv).

       DATED September 25, 2008.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
